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   12
   13                        UNITED STATES DISTRICT COURT

   14                     CENTRAL DISTRICT OF CALIFORNIA

   15
   16 IN RE : PFIZER                          )   Case No.: 8:17-MC-00005-CJC-JPR
                                              )
   17                                         )   PFIZER’S EX PARTE
   18                                         )   APPLICATION FOR STAY
                                              )   PENDING APPEAL
   19                                         )
   20                                         )   Judge: Hon. Cormac J. Carney
                                              )   Hearing date: TBD
   21                                         )   Hearing time: TBD
   22                                         )
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    1         Defendant Pfizer Inc. hereby moves on an ex parte basis for a stay of the
    2 order remanding these action pending the disposition of its forthcoming motion for
    3 permission to appeal under 28 U.S.C. § 1453(c). That motion is due to be filed on
    4 June 2, 2016.      This Court has jurisdiction to grant this application for a stay
    5 notwithstanding the fact it has begun the process of closing these cases and
    6 returning them to state court.      See Vasquez v. Johnson & Johnson, 2014 WL
    7 7272242, at *2 (C.D. Cal. Dec. 17, 2014). Pfizer submits this motion by ex parte
    8 application in order to prevent the unnecessary transmittal of records to state court
    9 that would occur with a motion by notice. All counsel have been advised by
   10 telephone of Pfizer’s intent to make this application (see Appendix A below) and
   11 have received electronic notice of this filing.
   12         By order dated May 23, 2017, this Court ordered the remand of more than
   13 120 Lipitor products liability actions brought on behalf of nearly 5,000 Plaintiffs
   14 (the “Remand Order”). The Court held that it lacks subject matter jurisdiction under
   15 the mass action provisions of the Class Action Fairness Act (CAFA) based on its
   16 finding there was no proposal that claims of more than 100 persons be tried jointly.
   17 For the reasons set forth in its briefing, at the hearing held on May 22, 2017, and
   18 below, Pfizer respectfully submits that the Remand Order is in conflict with
   19 Supreme Court and Ninth Circuit precedents concerning CAFA, including the Ninth
   20 Circuit’s en banc decision in Corber v. Xanodyne Pharmaceuticals, Inc., 771 F.3d
   21 1218 (9th Cir. 2014). Pfizer intends to exercise its right under CAFA to move for
   22 permission to appeal this ruling to the Ninth Circuit, which shall be filed in ten days.
   23 See 28 U.S.C. § 1453(c). In order to prevent irreparable harm to Pfizer and preserve
   24 the status quo of these cases pending adjudication of Pfizer’s motion for permission
   25 to appeal, Pfizer accordingly moves to stay the Remand Order pending the filing of
   26 its motion for permission to appeal.
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    1                                      ARGUMENT
    2          Although remand orders are not generally appealable, Congress enacted an
    3 exception to that rule in CAFA, authorizing motions for permission to appeal orders
    4 determining jurisdiction under CAFA.         See 28 U.S.C. § 1453(c).        This Court
    5 therefore retains jurisdiction over Pfizer’s Motion to Stay because the remand order
    6 is appealable under CAFA. When a remand order is appealable, such as under
    7 CAFA, a district court has continuing jurisdiction to “reopen a previously remanded
    8 case” and, inter alia, review, vacate, stay or reinstate that order. Vasquez v. Johnson
    9 & Johnson, 2014 WL 7272242, at *2 (C.D. Cal. Dec. 17, 2014) (vacating remand
   10 order in light of change in law from decision in Corber).1        Thus, a district court
   11 may consider an application to stay remand even where it has already certified and
   12 sent a copy of its remand order to the state court. See id.
   13          A stay pending appeal is warranted here. Whether to issue a stay is “an
   14 exercise of judicial discretion . . . to be guided by sound legal principles.” Nken v.
   15 Holder, 556 U.S. 418, 433 (2009) (citations omitted). In evaluating a request for a
   16 stay pending appeal, the Ninth Circuit balances four factors: “(1) whether the stay
   17 applicant has made a strong showing that he is likely to succeed on the merits; (2)
   18 whether the applicant will be irreparably injured absent a stay; (3) whether issuance
   19 of the stay will substantially injure the other parties interested in the proceeding; and
   20
   21      1
               See also, e.g., In re Shell Oil Co., 631 F.2d 1156, 1157-58 (5th Cir. 1980)
   22   (where an exception allows for appellate review of a remand order, the “district
        court has jurisdiction to review its own order” and may “vacate or reinstate that
   23
        order.”); Rappuchi v. Johnson & Johnson, 2014 WL 7272426, at *2 (C.D. Cal. Dec.
   24   17, 2014) (CAFA provides “an exception to the general rule that remand orders are
   25   not appealable, and [that] courts have interpreted it to therefore provide continuing
        jurisdiction to reopen a previously remanded case.”); Dalton v. Walgreen Co., No.
   26   4:13 CV 603 RWS, 2013 WL 2367837, at *1 (E.D. Mo. May 29, 2013) (“Exercising
   27   limited jurisdiction to stay a CAFA remand order is appropriate in light of the
        statutory scheme allowing immediate appeal of such orders.”).
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    1 (4) where the public interest lies.” Lair v. Bullock, 697 F.3d 1200, 1203 (9th Cir.
    2 2012) (quoting Nken, 556 U.S. at 434)). Although “[t]he first two factors are the
    3 most critical,” Nken, 556 U.S. at 434, the Ninth Circuit balances all four factors
    4 under a flexible “sliding scale approach,” Leiva-Perez v. Holder, 640 F.3d 962, 964-
    5 66 (9th Cir. 2011). Here, all four factors weigh in favor of granting Pfizer’s Motion
    6 to Stay.
    7         A.    Pfizer Is Likely to Prevail on the Merits
    8         The first prong of the stay factors supports Pfizer’s need for a stay of the
    9 Remand Order. A party seeking a stay need not demonstrate that success on the
   10 merits “is more likely than not” in order to satisfy the first factor supporting a stay,
   11 Leiva-Perez, 640 F.3d at 968, but rather need only show that its appeal presents “a
   12 substantial case for relief on the merits,” a standard the Ninth Circuit found to be
   13 “essentially interchangeable” with other formulations, including whether the appeal
   14 presents “serious legal questions,” or has a “reasonable probability” or “fair
   15 prospect” of success. Id. at 967-68 (citations omitted). Pfizer is likely to prevail on
   16 an appeal of the Remand Order here for at least three reasons, which will be set
   17 forth more fully in Pfizer’s forthcoming motion for permission to appeal.
   18         First, at the outset, CAFA must be construed according to its “primary
   19 objective” of “‘ensuring Federal court consideration of interstate cases of national
   20 importance.’” Standard Fire Ins. Co. v. Knowles, 133 S. Ct. 1345, 1350 (2013).
   21 Indeed, “[n]o antiremoval presumption attends cases invoking CAFA.”                Dart
   22 Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547, 554 (2014). Rather,
   23 as the Ninth Circuit has recently held, “Congress and the Supreme Court have
   24 instructed us to interpret CAFA’s provisions under section 1332 broadly in favor of
   25 removal.” Jordan v. Nationstar Mortg. LLC, 781 F.3d 1178, 1184 (9th Cir. 2015).
   26         Second, the Court’s Remand Order turned on its holding that only Plaintiffs
   27 who affirmatively file an add-on petition themselves are subject to mass action
   28 jurisdiction. However, CAFA does not confer jurisdiction on those who “propose,”

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    1 but rather on those whose claims “are proposed to be tried jointly.” 28 U.S.C.
    2 1332(d)(11). As the Court acknowledged in the Remand Order, “[t]he Ninth Circuit
    3 has so far declined to specify exactly who must make a proposal for a joint trial to
    4 trigger CAFA’s mass action provision.” (Remand Order at 10.) Yet in the Corber
    5 litigation, the Ninth Circuit held that mass action jurisdiction extended both to other
    6 cases filed by the counsel who filed the coordination petition, and even to cases filed
    7 by Plaintiffs’ counsel with no involvement in the petition at all. See Cohen-Feris v.
    8 McKesson Corp., 2:12-cv-09976-PSG-E, [Dkt. 27] (C.D. Cal. Jan. 23, 2015)
    9 (summarily reversing remand in light of Corber, 771 F.3d 1218 (9th Cir. 2014)).
   10 This aspect of Corber, which was not addressed by the Remand Order, renders it
   11 significantly likely that Pfizer will succeed as to mass action jurisdiction here.
   12 Indeed, while Corber involved mass action jurisdiction over approximately 1,500
   13 plaintiffs who were represented by the firms in the petition at the time of removal,
   14 here, there were nearly 3,000 cases filed by the “Plaintiffs’ Leadership” firms
   15 involved in the filing of petition, as well as many more cases filed by other firms
   16 subject to the same proposal. (See Chart of Cases, Ex. A to Declaration of JD
   17 Horton.)
   18        Third, the Court granted remand due to its finding that only 65 Plaintiffs
   19 affirmatively sought to be joined to the coordination by petition or add-on petition.
   20 (Remand Order at 12-14.)       However, in Corber, the Ninth Circuit specifically
   21 rejected “the rule urged by Plaintiffs that a petition to evoke CAFA must expressly
   22 request a ‘joint trial’ in order to be a proposal to try the cases jointly.” Corber v.
   23 Xanodyne Pharms., Inc., 771 F.3d 1218, 1223-25 (9th Cir. 2014). Rather, the Court
   24 must “carefully assess … whether, in language or substance,” a joint trial was
   25 proposed. Id. Indeed, the Ninth Circuit found jurisdiction in Corber even though
   26 no add-on petition was ever filed in that case and no coordinated proceeding was
   27 even established prior to removal. See generally id. Instead, the Corber case was
   28 joined in the proposal simply because the Corber plaintiffs’ counsel acknowledged

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    1 in an email that he intended the petition to apply to all cases. See [Dkt. 13-19];
    2 Corber, 771 F.3d at 1223-24; [Dkt. 13-14]. Here, the evidence of affirmative intent
    3 to coordinate is much stronger, where the vast majority of the nearly 5,000 Plaintiffs
    4 at issue filed civil cover sheets indicating the case was to be assigned to
    5 coordination, and many others attached other orders from the coordination
    6 proceeding or even identified the coordination in the caption of their complaints.
    7 (See Chart of Cases, Ex. A to Declaration of JD Horton.)          Pfizer is therefore
    8 substantially likely to prevail on appeal on a showing that, “in language or
    9 substance,” Plaintiffs proposed their claims be tried jointly.
   10        B.     Pfizer Will Suffer Irreparable Injury Absent a Stay
   11        A stay is warranted because “irreparable harm is probable if the stay is not
   12 granted.” Leiva-Perez, 640 F.3d at 968. In evaluating this prong, courts must
   13 “anticipate what would happen as a practical matter following the denial of a stay.”
   14 Lair, 697 F.3d at 1214. The interference with Pfizer’s statutory right to seek appeal
   15 itself causes Pfizer irreparable harm and weighs in favor of granting the stay. As
   16 courts have recognized in other cases involving exceptions to the prohibition of
   17 review of remand orders, Pfizer will face “immediate and potentially severe” injury
   18 because a denial of the stay may render “hollow” its statutory right to appeal. See
   19 Northrop Grumman Tech. Servs., Inc. v. DynCorp Int’l LLC, 2016 WL 3346349, at
   20 *4 (E.D. Va. June 16, 2016) (federal officer removal). “To hold that a district court
   21 lacks the limited jurisdiction to stay its remand order in a [CAFA removal] case
   22 would render the statutory right to appeal [a CAFA] remand order hollow.” Raskas
   23 v. Johnson & Johnson, 2013 WL 1818133, at *1 (E.D. Mo. Apr. 29, 2013); see also
   24 Ind. State Dist. Council of Laborers & Hod Carriers Pension Fund v. Renal Care
   25 Grp., Inc., 2005 WL 2237598, at *1 (M.D. Tenn. Sept. 12, 2005) (if stay is denied,
   26 “the case is actually remanded, and the state court proceeds to move it forward, then
   27 the appellate right would be an empty one.”); Vision Bank v. Bama Bayou, LLC,
   28 2012 WL 1592985, at *2 (S.D. Ala. May 7, 2012) (“Once the FDIC appealed [the

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    1 remand order], a stay order should have been issued. To do otherwise would make
    2 the right of appeal nugatory.”). Id. (internal citations omitted).). Pfizer intends to
    3 appeal this Court’s Remand Order pursuant to § 1447(d) so that this case may be
    4 heard in federal court, and Pfizer will suffer irreparable harm if denied a genuine
    5 opportunity to pursue that statutory right.
    6         A distinct but related irreparable injury to Pfizer will also result from the extra
    7 costs and potential for inconsistent rulings that Pfizer will inevitably face if it must
    8 simultaneously litigate the appeal in federal court and the proceedings in state court.
    9 “More persuasive is the likelihood that Defendant will be irreparably harmed by the
   10 burden of having to simultaneously litigate these cases in state court and on appeal .
   11 . . , as well as the potential of inconsistent outcomes if the state court rules on any
   12 motions while the appeal is pending.” Dalton, 2013 WL 2367837, at *2; Raskas,
   13 2013 WL 1818133, at *2 (“the burden of having to simultaneously litigate these
   14 cases in state court and on appeal . . . as well as the potential of inconsistent
   15 outcomes . . . weigh in favor of granting the stays.”); Pagliara v. Fed. Home Loan
   16 Mortg. Corp., 2016 WL 2343921, at *3 (E.D. Va. May 4, 2016) (granting stay
   17 where movant faced “potential hardship of duplicative and inconsistent discovery
   18 obligations” from separate courts). If this Court declines to issue a stay, Pfizer may
   19 be forced to unnecessarily litigate a complex nationwide products liability litigation
   20 in state court while appealing the Remand Order in federal court, a scenario rife
   21 with potential for inconsistent rulings. In addition, because the essence of Plaintiffs’
   22 challenge to CAFA jurisdiction was that Pfizer removed these cases prematurely,
   23 the cases may later become again removable in state court, which will potentially
   24 place Pfizer in the untenable position of simultaneously litigating two separate
   25 removals of the same set of cases. A stay is warranted in order to prevent any such
   26 confusion and irreparable injury.
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    1         C.    Plaintiffs Will Not Be Harmed by a Stay
    2         Plaintiffs will not suffer substantial injury awaiting a decision from the Ninth
    3 Circuit before resuming proceedings in state court. Plaintiffs allege only monetary
    4 harm, and a stay will not prejudice their ability to obtain legal redress.        “It is
    5 generally accepted that allegations of monetary harm are not sufficient to justify a
    6 finding of irreparable injury.”      See, e.g., United States v. Nevada, 2007 WL
    7 2659984, at *14 (D. Nev. Aug. 31, 2007) (citing Los Angeles Mem’l Coliseum
    8 Comm’n v. Nat’l Football League, 634 F.2d 1197, 1202 (9th Cir. 1980)). Since
    9 these cases have been stayed since 2014 at Plaintiffs’ request, there is no additional
   10 harm to Plaintiffs in a further stay pending final resolution of any issues of subject
   11 matter jurisdiction.    In fact, “plaintiffs’ interests would actually be served by
   12 granting a stay. Neither party would be required to incur additional expenses from
   13 simultaneous litigation before a definitive ruling on appeal is issued.” Raskas, 2013
   14 WL 1818133, at *2. Waiting for Pfizer’s appeal to conclude will not cause the
   15 Plaintiffs substantial harm and all parties benefit from avoiding duplicative litigation
   16 costs and the risk of inconsistent rulings.
   17         D.    The Public Interest Supports a Stay
   18         Granting a stay pending appeal would not just benefit the parties here, for
   19 “public interest favors granting a stay because it would avoid potentially duplicative
   20 litigation in the state courts and federal courts, thereby conserving judicial resources
   21 and promoting judicial economy.” Raskas, 2013 WL 1818133, at *2; see also
   22 Dalton, 2013 WL 2367837, at *2. There is also a public interest in “CAFA’s
   23 primary objective” of “‘ensuring Federal court consideration of interstate cases of
   24 national importance.’” Knowles, 133 S. Ct. at 1350.             The right of appeal for
   25 removals made pursuant to the CAFA is one of two exceptions to the general rule
   26 that remand orders cannot be appealed.              To allow state court proceedings to
   27 continue, amidst appellate review of removal, frustrates Congress’s explicit intent to
   28 make CAFA remand orders appealable.

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    1                                   CONCLUSION
    2        For the foregoing reasons, the Court should grant Pfizer’s ex parte application
    3 and stay the Remand Order pending disposition by the Ninth Circuit of Pfizer’s
    4 forthcoming motion for permission to appeal.
    5 Dated: May 23, 2017                            Respectfully submitted,
    6
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     1
     2                                     APPENDIX A
     3
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